Case 1:22-cv-00988-KLM Document 1 Filed 04/22/22 USDC Colorado Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.

TERRI FISHER,

        Plaintiff,

v.

STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY,

      Defendant.
______________________________________________________________________________

                            NOTICE OF REMOVAL
______________________________________________________________________________

        Defendant State Farm Mutual Automobile Insurance Company (“State Farm”), pursuant

to 28 U.S.C. § 1446, hereby removes the above-referenced action from the District Court,

Douglas County, Colorado, based on the following:

        1.      The above action was filed in the District Court, Douglas County, Colorado, and

is now pending before that Court. A copy of the Complaint is attached as Exhibit A. A copy of

the Civil Case Cover Sheet is attached as Exhibit B. A copy of the Summons is attached as

Exhibit C. A copy of the Delay Reduction Order is attached as Exhibit D. Finally, a copy of the

Affidavit of Service is attached as Exhibit E. No other filings have occurred in the state court

case.

        2.      The Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332,

as it is a civil action between parties of diverse citizenship, involving an amount alleged to be in

controversy exceeding $75,000.00, exclusive of interest and costs.

        3.      Plaintiff is currently a citizen of the State of Hawaii, but was a citizen of the State
Case 1:22-cv-00988-KLM Document 1 Filed 04/22/22 USDC Colorado Page 2 of 4




of Colorado at the time of this incident. See Ex. A, ¶ 1 and “Plaintiff’s Address.” The State of

Colorado Traffic Accident Report which is the subject of the Action and dated December 23,

2019 lists Plaintiff’s address as 10165 Highland Meadow LP, Parker, CO 80134. See Exhibit F,

Traffic Accident Report. The Traffic Accident Report also lists Plaintiff as having a Colorado

drivers license and vehicle registration. The State Farm Declarations Page for Plaintiff’s auto

policy effective March 29, 2019 through October 18, 2019 also lists Plaintiff’s address as 10165

Highland Meadow Loop, Parker, CO 80134. See Exhibit G. The fact that Plaintiff resided in the

State of Colorado since at least March 2019 and now resides in the State of Hawaii shows that

there is no intent to obtain citizenship in the State of Illinois.

        4.      State Farm is a citizen of the State of Illinois, as it is an Illinois corporation with

its principal place of business in Illinois. See State Farm’s listing with the Colorado Secretary of

State business search website.1 There is thus diversity of citizenship among the parties pursuant

to 28 U.S.C. § 1332(c)(1).

        5.      This action involves an amount alleged to be in controversy exceeding $75,000,

exclusive of interest and costs. The Civil Case Cover Sheet filed in the state court action

establishes that the amount in controversy exceeds $75,000. See Ex. B ¶ 2: “This party is

seeking a monetary judgment against another party for more than $100,000.00, including any

penalties or punitive damages…” See Paros Properties, LLC v. Colo. Cas. Ins. Co., 835 F.3d

1264, 1272-73 (10th Cir. 2016) (Colorado state court civil cover sheet indicating amount sought


1
    From a search for State Farm Mutual Automobile Insurance Company, at
http://www.sos.state.co.us/biz/BusinessEntityDetail.do?quitButtonDestination=BusinessEntityRe
sults&nameTyp=ENT&entityId2=19871032828&srchTyp=ENTITY&fileId=19871032828&mas
terFileId=19871032828. This Court may take judicial notice of this information pursuant to
Fed.R.Evid. 201(b)(2).


                                                    2
Case 1:22-cv-00988-KLM Document 1 Filed 04/22/22 USDC Colorado Page 3 of 4




is greater than $100,000 suffices to start “removal clock” for purposes of 28 U.S.C. § 1446).

       6.      Plaintiff’s allegations in her Complaint also support an amount in controversy

exceeding $75,000.     This action arises from a motor vehicle accident involving Plaintiff.

Plaintiff claims underinsured motorist benefits of $250,000 in the Complaint.          See Ex. A,

Complaint, ¶¶ 31 and 34. As a result of the accident, Plaintiff alleges she is entitled to uninsured

motorist benefits damages of $250,000 (see Exhibit A, ¶ 35) as well as damages for bad faith

breach of insurance contract and two times the covered benefit plus attorney fees and costs under

C.R.S. §10-3-1115 and 10-3-1116 for the UIM benefits under the Policy.            See e.g., Ex. A,

Complaint, Third Claim for Relief and ¶ 83.

       7.      Accordingly, State Farm has demonstrated by a preponderance of the evidence

that it is entitled to remove this action pursuant to 28 U.S.C. § 1446(a). See McPhail v. Deere &

Co., 529 F.3d 947, 953 (10th Cir. 2008).

       Respectfully submitted,

                                              s/ Katherine K. Kust
                                              Jon F. Sands
                                              Katherine K. Kust
                                              Sweetbaum Sands Ramming PC
                                              1125 Seventeenth Street, Suite 2100
                                              Denver, Colorado 80202
                                              Phone: (303) 296-3377
                                              jsands@sweetbaumsands.com
                                              kkust@sweetbaumsands.com

                                              ATTORNEYS FOR DEFENDANT STATE FARM
                                              MUTUAL AUTOMOBILE INSURANCE
                                              COMPANY




                                                 3
Case 1:22-cv-00988-KLM Document 1 Filed 04/22/22 USDC Colorado Page 4 of 4




                              CERTIFICATE OF SERVICE

       I hereby certify that on April 22, 2022, I electronically filed the foregoing NOTICE OF
REMOVAL with the Clerk of the Court using the CM/ECF system which will send notification
of such filing to the following:

Jill M. Jackson
The Law Office of Jill M. Jackson
650 S. Cherry St., Suite 1225
Denver, CO 80246

                                                                 s/ Megan MacLennan




                                              4
